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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS




Mikhael El-Bayeh

      Plaintiff

v.                                      Civil Action No. 21-11674-NMG

Michael P. Sierra, et al.

      Defendant




                            ORDER FOR REMAND


Gorton, DJ




In accordance with this Court’s Memorandum and Order dated March 11,
2022, ALLOWING the Motions to Remand, it is hereby ordered that this case
be REMANDED to Middlesex Superior Court for further proceedings.




                                                    BY THE COURT,
                                                    /s/Douglas Warnock
                                                    Deputy Clerk


DATED: March 11, 2022
